         Case 22-33553 Document 674 Filed in TXSB on 05/20/24 Page 1 of 3




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 IN RE                                            )
                                                  )     Chapter 11
 ALEXANDER E. JONES                               )
                                                  )     Case No. 22-33553 (CML)
                DEBTOR.                           )
                                                  )
                                                  )


               NOTICE AND COMMENT REGARDING CREDITORS’ PLAN

         1.    On March 26, 2024, the Official Committee of Unsecured Creditors (“UCC”), the

Connecticut Plaintiffs, and the Texas Plaintiffs (collectively, the “Plaintiffs”), filed a Notice with

Respect to Creditors Plan [Docket No. 643], stating that the Plaintiffs would hold the Creditors’

Non-Uniform Individual Chapter 11 Plan of Liquidation for Alexander E. Jones [Docket No. 562]

(as may be amended, the “Creditors’ Plan”) in abeyance until further notice. Jones likewise agreed

to hold off on prosecuting the Debtor’s Amended Plan of Reorganization [Docket No. 591] (as

may be amended, the “Debtor’s Plan”).

         2.    On April 17-18, 2024, Alex Jones (“Jones”), Free Speech Systems, LLC (“FSS”)

and the Creditors attended a mediation in Forth Worth which did not result in a resolution among

the parties.

         3.    On April 22, 2024, the Court held a status conference. At the status conference, the

parties informed the Court of an agreement for a current two week pause of all confirmation

deadlines while the parties worked on figuring out whether the cases would be moving forward

with a consensual liquidating plan or a conversion/dismissal.

         4.    On May 3, 2024, counsel for the Connecticut Plaintiffs confirmed that all plan

confirmation deadlines were still held in abeyance by agreement. See Exhibit A.

                                                  1
        Case 22-33553 Document 674 Filed in TXSB on 05/20/24 Page 2 of 3




       5.      On May 10, 2024, the Debtor sent the Creditors a redlined draft of the Creditors’

Plan as a proposed compromise that would be acceptable to the Debtor. This redline removed from

the Creditors’ Plan onerous or illegal provisions such as forcing Jones to reject his premarital

agreement or forcing Jones to give up all of his privileges, including his attorney client privilege.

The redline also removed requirements that the Creditors are not entitled to under the law,

including forcing Jones to provide additional sworn statements regarding any transfers exceeding

$5,000 for ten (10) years prior to the Petition Date. The redline also removed releases Creditors

were forcing Debtor to give them for zero consideration. The Creditors have not agreed to this

redline, but the Debtor continues to negotiate.

       6.      On May 17, 2024, the Creditors filed a Notice Regarding the Creditors Plan

[Docket No. 672] indicating they wish to move forward with the original Creditors’ Plan. Given

the draconian, onerous, illegal provisions contained within the Creditors’ Plan, the Creditors’ Plan

as currently filed is not something the Debtor will ever support. To the extent that the Creditors

intend to amend the Creditors’ Plan, the Debtor doesn’t know and cannot plan for how it will be

amended and will need time to assess any amendments to know whether or not he can support it.

Such unfair surprise would unduly prejudice the Debtor. Further, to the extent the Creditors seek

to proceed with a contested liquidated 11, the Debtor would need time to do the discovery which

has been held in abeyance while the parties were attempting to negotiate.

       7.      Jones intends to seek either time to file his Motion to Convert to prepare matters

for an orderly conversion, or additional time to negotiate terms for a consensual liquidating 11

plan. Jones would object to the Creditors’ Plan moving forward for Confirmation as-is, on the

current truncated time-table.




                                                  2
       Case 22-33553 Document 674 Filed in TXSB on 05/20/24 Page 3 of 3




Dated: May 20, 2024.

                                    CROWE & DUNLEVY, P.C.

                                    By: /s/ Vickie L. Driver
                                    Vickie L. Driver
                                    State Bar No. 24026886
                                    Christina W. Stephenson
                                    State Bar No. 24049535
                                    2525 McKinnon St., Suite 425
                                    Dallas, TX 75201
                                    Telephone: 737.218.6187
                                    Email: dallaseservice@crowedunlevy.com

                                    ATTORNEYS FOR DEBTOR ALEXANDER E.
                                    JONES




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